                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                                            Case No. 04-CR-0248

ELNORA M. CALIMLIM,

                              Defendant,

CHARLES SCHWAB & CO., INC.,

                              Garnishee-Defendant.


                                  ORDER OF GARNISHMENT


       A Writ of Garnishment, directed to garnishee-defendant has been duly issued and served

upon the garnishee-defendant. Pursuant to the Writ of Garnishment, the garnishee-defendant,

CHARLES SCHWAB & CO., INC., filed an Answer on October 10, 2007, stating that the

defendant , ELNORA M. CALIMLIM had accounts with CHARLES SCHWAB & CO., INC., at

the time of the service of the Writ, and that the garnishee-defendant had in its possession,

custody or control, wages, income or other personal property belonging to and due the defendant.

       The defendant remains indebted to the plaintiff in the sum of $916,635.16.

 ACCORDINGLY, IT IS ORDERED that the garnishee-defendant, shall pay to plaintiff, the

United States of America, the contents of any and all accounts in the name of Elnora M.

Calimlim, held by Charles Schwab & Co., Inc. Payment shall be made payable to the "U.S.

District Court Clerk," with the debtors case number 04-CR-0248, on the draft and sent to the




       Case 2:04-cr-00248-RTR          Filed 11/07/07      Page 1 of 2      Document 326
Clerk of the U.S. District Court, 362 Federal Building, 517 E. Wisconsin Avenue, Milwaukee,

Wisconsin 53202-4580.

       IT IS FURTHER ORDERED that any amounts which the garnishee-defendant may be

holding pursuant to the Writ of Garnishment shall immediately be turned over to the United

States Attorney at the above address.

       Dated at Milwaukee, Wisconsin this 7th day of November, 2007.



                                             s/ Rudolph T. Randa
                                             RUDOLPH T. RANDA
                                             CHIEF UNITED STATES DISTRICT JUDGE




       Case 2:04-cr-00248-RTR           Filed 11/07/07   Page 2 of 2    Document 326
